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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                          CASE NO. 15-21124-CIV-GOODMAN

                                       [CONSENT]

  MARLA MARTINS, et al.,

        Plaintiffs,
  v.

  ROYAL CARIBBEAN CRUISES, LTD.,

        Defendant.
  ____________________________________/



                                   FINAL JUDGMENT




        Pursuant to Federal Rule of Civil Procedure 58, and in accordance with the

  Court’s Order dismissing the case with prejudice [ECF No. 176], 1 judgment is entered in

  favor of Defendant Royal Caribbean Cruises, LTD. and against Plaintiffs Marla Martins,

  Marcelo Costa, Tatiana Martins, and G.E. The Court retains jurisdiction to enter an




  1
        The Court previously granted summary judgment in Defendant’s favor and
  against all Plaintiffs other than Marla Martins. [ECF No. 90]. The summary judgment
  Order permitted Marla Martins to proceed on a small portion of her claims. The Court
  then dismissed her remaining claims with prejudice upon Defendant’s ore tenus motion
  when Marla Martins refused to go forward with the trial. [ECF Nos. 176; 182].
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  award and an amended judgment for costs and attorney’s fees to Defendant, after it

  files an application for fees and costs, if applicable.

         DONE and ORDERED in Chambers, in Miami, Florida, on November 8, 2017.




  Copies furnished to:
  All Counsel of Record




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